                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No. 9:20-cv-80102-CANNON/BRANNON


TING PENG and LIN FU, on behalf of
themselves individually and all others similarly
situated, and derivatively on behalf of
HARBOURSIDE FUNDING, LP, a Florida
limited partnership,

       Plaintiffs,                                        JURY DEMAND

                     vs.

NICHOLAS A. MASTROIANNI II;
FLORIDA REGIONAL CENTER, LLC, a
Delaware limited liability company;
HARBOURSIDE FUNDING GP, LLC, a
Florida limited liability company; and
HARBOURSIDE PLACE, LLC, a Delaware
limited liability company,

      Defendants,

and

HARBOURSIDE FUNDING, LP, a Florida
limited partnership,

      Nominal Defendant.




        SECOND AMENDED CLASS-ACTION AND DERIVATIVE COMPLAINT
                  FOR EQUITABLE RELIEF AND DAMAGES
       Pursuant to Federal Rule of Civil Procedure 15(a)(1)(B), Plaintiffs Ting Peng and Lin Fu,

on behalf of themselves and all others similarly situated, and derivatively on behalf of Nominal

Defendant Harbourside Funding, LP, hereby submit this Second Amended Complaint (“SAC”) in

response to the Order on Motions for Reconsideration (ECF 73) by which the Court dismissed

without prejudice Counts V, VI, VIII, and IX of Plaintiffs’ First Amended Complaint (“FAC”) and

instructed Plaintiffs to file their SAC within 14 days of the Order on Motions for Reconsideration

(i.e., by January 28, 2021). Accordingly, Plaintiffs hereby submit their SAC and allege as follows

upon personal knowledge as to Plaintiffs’ own conduct and experience, and on information and

belief as to all other matters based on an investigation by counsel:

                                       INTRODUCTION

       1.      In or about 2010, Defendant Nicholas Mastroianni and attorney Richard Yellen

became the principals of the Harbourside Group, a group of entities they created for the purpose

of building a mixed-use commercial development in Jupiter, Florida (the “Harbourside Project”),

financed by a loan to Harbourside Place, LLC (the “Developer”). The loan was funded by the sale

of membership units in Harbourside Funding, LP (the “Funding Partnership”) at $500,000 per unit

to immigrant investors who applied for permanent residence in the United States via the EB-5

Immigrant Investor Visa Program (the “EB-5 Program”).

       2.      Defendants sold 199 of the 200 available units of membership in the Funding

Partnership, which provided $99,500,000 in funding for the Developer. Members of the Funding

Partnership (the “Limited Partners”) were to receive interest payments each month until the loan

matured on November 30, 2017, when the $99,500,000 principal was to be repaid in full. If the

Developer’s capital was insufficient to repay the principal when it became due, the Developer was

to obtain refinancing from an institutional lender or obtain the necessary capital through the sale




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of some or all of the Harbourside Project. And if those efforts failed, the principal could be

converted to common membership units in the Developer unless one or more events of default had

occurred and had not been cured as of the maturity date.

       3.      As of August 2017, the Developer had yet to pay a single monthly interest payment

to the Limited Partners. Mastroianni offered to pay all the interest that had accrued, repay the loan

principal, and establish a plan that would protect the Limited Partners’ interests if they would

consent to converting the Funding Partnership’s investment into a “preferred” equity stake in the

Developer. And although the Developer had made no effort to refinance the loan or to sell some

or all of the Harbourside Project, Mastroianni also told the Limited Partners that the principle

would be converted to common membership interests in the Developer per the conversion

provision in the loan agreement.

       4.      When the Limited Partners declined his proposal, Mastroianni advised the Funding

Partnership that the Developer would exercise the conversion provision of the loan agreement, and

that the debt would be converted to equity in the Developer.

       5.      The conversion was invalid for three basic reasons. First, Mastroianni had failed to

distribute to the Limited Partners notice of the Developer’s intent to invoke the conversion

provision of the loan agreement, as required by the Limited Partnership Agreement. Second, the

Developer had engaged in multiple events of default, which precluded the exercise of the

conversion provision. Third, the conversion required the Limited Partners’ approval, which was

neither sought nor obtained, (a) because the Developer was converted from a Florida LLC to a

Delaware LLC, which constitutes a change in the plan described in the offering documents and

constitutes an “Other Investment,” as that term is defined in the Limited Partners’ Agreement; and

(b) because the loan principal was to have been converted to common units of membership interest




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in the Developer, but was converted instead to a single unit of “preferred” membership that was

issued in the name of the Funding Partnership, which prevented the Limited Partners from

exercising rights of membership in the Developer.

       6.      As a result of engaging in this course of conduct, Mastroianni and the general

partner of the Funding Partnership have breached their fiduciary duties to the Funding Partnership

and to the Limited Partners, and Mastroianni and the Developer have breached the loan agreement

and have seized control of the limited partners’ property—i.e., the $500,000 investments that were

to have been returned to each of them when the loan matured in November 2017—which renders

Mastroianni and the Developer liable for conversion and civil theft under Florida law.

       7.      Accordingly, Plaintiffs bring this action on behalf of themselves and a proposed

class of limited partners and derivatively on behalf of the limited partnership to obtain judicial

declarations (a) that exercising the conversion provision was prohibited by the loan agreement and

(b) that the conversion of the developer from a Florida LLC to a Delaware LLC, and the conversion

of the debt to a single unit of “preferred” membership in the developer LLC, are invalid due to the

failure to obtain the Limited Partners’ approval.

       8.      Plaintiffs also seek an award of compensatory and, where applicable, punitive

damages for, inter alia, Defendants’ breaches of fiduciary duty, breaches of contract, conversion,

and an award of treble damages for civil theft.




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                                           PARTIES

                                           PLAINTIFFS

          9.    Plaintiff Ting Peng is an individual participant in the EB-5 Program who became a

member of the Funding Partnership on April 2, 2013. Ms. Peng was born in mainland China and

has been employed as a teacher and a corporate financial planner. Ms. Peng now resides in

Sammamish, Washington.

          10.   Plaintiff Lin Fu is an individual participant in the EB-5 Program who became a

member of the Funding Partnership on December 16, 2011. Ms. Fu was born in mainland China

and is a physician who received her medical degree from Shanghai Medical University and practice

as an OB/Gyn for more than a decade in Shanghai, China. Ms. Fu now resides in Princeton, New

Jersey.

                                          DEFENDANTS

          11.   Defendant Nicholas Mastroianni is an individual who resides in Palm Beach

County, Florida. Mastroianni, along with attorney Richard Yellen, was one of two principals who

controlled a group of companies called the “Harbourside Group,” which are among the entities

named Defendants in this action.1



          1
           As discussed in paragraph 137, below, on December 23, 2019, Plaintiffs served
Defendants with a demand letter as required by F.S.A. § 772.11 and a draft of the original
complaint. After meeting and conferring with Defendants’ counsel, Plaintiffs filed the original
complaint on January 27, 2020. One month later (on February 28, 2020), Defendants advised
Plaintiffs that Richard Yellen, who was named as a Defendant in the original complaint, had
terminated his participation in the Harbourside Project as of September 30, 2014. On March 3,
2020, Plaintiffs offered a stipulated dismissal without prejudice of their claims against Yellen in
exchange for an affidavit in which Yellen affirmed that he had no role in the Harbourside Project
after that date, subject to Plaintiffs amending their complaint to include Yellen as a defendant if
facts obtained in discovery contradicted Yellen’s affidavit. On March 25, 2020, Yellen answered
the complaint and filed a motion for judgment on the pleadings. Shortly thereafter, the parties
agreed to a stipulation and proposed order dismissing their claims again Yellen without prejudice,
which has been filed with this First Amended Complaint.


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       12.     Defendant Florida Regional Center, LLC (the “Regional Center”) is a Delaware

limited liability company and is one of the entities that comprise the Harbourside Group.

       13.     Defendant Harbourside Place, LLC (the “Developer”) was formed as a Florida

limited liability company and was converted to a Delaware limited liability company in or about

December 2017. The Developer was created and operated by Mastroianni and Yellen, was

managed by Mastroianni, and is one of the entities that comprise the Harbourside Group.

       14.     Defendant Harbourside Funding GP, LLC (the “General Partner”) is a Florida

limited liability company that served as the general partner of the Funding Partnership. The

General Partner was created and operated by Mastroianni and Yellen, was managed by

Mastroianni, and is one of the entities that comprise the Harbourside Group.

       15.     Nominal Defendant Harbourside Funding, LP (the “Funding Partnership”) is a

Florida limited liability company that was established for the purpose of financing the “Harborside

Project” (a mix-used commercial development in Jupiter, Florida) with a loan to the Developer,

which was funded by EB-5 investors’ purchase of membership units in the Funding Partnership

and who, like Plaintiffs, became Limited Partners in the Funding Partnership. The Funding

Partnership is one of the entities that comprise the Harbourside Group.

                                 JURISDICTION AND VENUE

       16.     JURISDICTION. This Court has jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a)(1). The amount in controversy exceeds the jurisdictional minimum of this Court,

exclusive of interest and costs, and Plaintiffs and Defendants are citizens of, and domiciled in,

different states. This action, which is brought in part under Fed. R. Civ. P. 23.1, is not a collusive

one to confer jurisdiction that the court would otherwise lack.




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        17.     VENUE. Venue is proper in the Southern District of Florida pursuant to 28 U.S.C.

1391(b)(2) because the vast majority of acts and omissions giving rise to the claims asserted herein

occurred and continue to occur in this District, and a substantial part of the property that is the

subject of this action is situated here.

                                   GENERAL ALLEGATIONS

                                           THE EB-5 PROGRAM

        18.     To provide an incentive for foreign investment to benefit the American economy

by creating or preserving American jobs, Congress created the EB-5 Program in 1990 with the

enactment of the Immigration Act of 1990. Pub. L. 101-649, 104 Stat. 4978. The EB-5 Program

enabled immigrant investors (“EB-5 Investors”) to become permanent residents of the United

States by investing at least $500,000 in a U.S. business that will use the funds in a manner that

creates or maintains at least 10 full-time American jobs. See, e.g., 8 U.S.C. § 1153(b)(5).

        19.     At the outset of the application process, which normally takes two or more years

before it is complete, the EB-5 Investor submits a Form I-526 Immigration Petition by Alien

Entrepreneur (“I-526 Petition”), which, if approved, permits the EB-5 Investor to reside and travel

within the U.S. while his or her application is pending. If the I-526 Petition is approved, the EB-5

Investor may then seek permanent U.S. residency status (and obtain a green card) by submitting a

Form I-829 Petition by Entrepreneur to Remove Conditions (“I-829 Petition”). If the I-829 Petition

is granted, the EB-5 Investor and his or her immediate family members are granted permanent

immigrant visas (i.e., green cards).

        20.     In 1993, Congress modified the EB-5 Program by adding the Immigrant Investor

Pilot Program, which allowed EB-5 Investors to invest in a commercial enterprise associated with

a regional center. Regional centers, like the one involved in the present case, are Regional centers




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are essentially clearinghouses for eligible investment opportunities. They are private entities that

have received approval from the U.S. Citizenship & Immigration Services (“USCIS”) to

administer EB-5 investments in a given geographical area, and enable EB-5 Investors to pool their

investments in a specific project with other EB-5 Investors, thereby making it easier to demonstrate

that a given project has created or preserved at least 10 jobs per investment.

       21.     Although EB-5 was created in the 1990s, it was not commonly used to fund real

estate projects until after the Great Recession in 2008, when funding became more difficult to

obtain and EB-5 represented an alternative source of capital.

                FUNDING THE HARBOURSIDE PROJECT VIA THE EB-5 PROGRAM

       22.     In September 2010, USCIS approved Defendant Mastroianni’s proposal to

designate Defendant Florida Regional Center as the administrator of the regional center for Palm

Beach County, Florida, and to approve the Harbourside Project as the first capital investment

project that would be located in the Florida Regional Center.

       23.     To fund the Harbourside Project, Mastroianni and Yellen created the Funding

Partnership for the purpose of raising up to $100 million through the sale of up to 200 membership

units to EB-5 Investors for $500,000 per unit plus a $40,000 administration fee. The revenue

generated by the sale of Funding Partnership membership units funded a loan to the Developer of

up to $100,000,000 (the “EB-5 Loan”).

       24.     In advertising materials circulated by the Regional Center, prospective EB-5

Investors were told that the Harbourside Project’s completion was guaranteed by a $750 million

policy issued by a major insurance company, and that

       the value of just the real estate collateral is more than twice the amount of the EB-
       5 loans, and the security of the funds is fully guaranteed. The [Harbourside] Project
       is a four-year bridge loan with a safe and reliable exit mechanism: Ackman-Ziff,
       the largest real estate company in New York, has signed a contract to provide a



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       $100 million refinancing loan after the Project is completed and put into operation.
       Investors will recover 50% of their funds immediately after receiving their
       permanent green card, and the full amount of the investment will be safely
       recovered in the fourth year. . . .

       25.     Defendants made similar statements in the Offering Documents 2 (which were

printed in English and which Plaintiffs and other prospective EB-5 Investors were shown only the

signature pages by Defendants’ agents in China), including a promise that the EB-5 Loan would

not be subordinated to loans by other lenders unless the General Partner failed to sell all 200 units

of membership in the Funding Partnership, and even then, the Developer would borrow no more

than a total of $110,000,000, including the amount of the EB-5 Loan. As explained in the Offering

Documents, each EB-5 Investor’s $500,000 investment would be paid into an escrow fund, which

would provide up to $100 million for the EB-5 Loan to the Developer for the construction of the

Harbourside Project.

       26.     The EB-5 Loan would be secured by a perfected, first-priority lien and would yield

interest at a rate of 2.0% per year that would be paid in monthly installments to the EB-5 Investors

who became Limited Partners in the Funding Partnership.

       27.     The Offering Memorandum explained that the EB-5 Loan would be repaid. “within

five years from the date the last potential investor submits his or her I-526 Petition to USCIS, or,

no later than November 30, 2012, as determined by the Partnership in good faith.” And, to do so,




       2
         The Offering Documents are composed of Subscription Instructions and a Confidential
Offering Memorandum (“Offering Memorandum”) to which the following exhibits are attached:
the Limited Partnership Agreement for the Funding Partnership (the “Limited Partnership
Agreement”); the Subscription Agreement; Charts Summarizing the Immigration and Investment
Procedures; the Escrow Agreement; a Rendering, Aerial Photo and Area Maps of Harbourside
Place; and the Amended Restated Convertible Loan Agreement (the “EB-5 Loan Agreement”). A
true and correct copy of the Offering Documents, which has been bookmarked for ease of
reference, is attached hereto as collective Exhibit 1.


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the Developer would “[r]efinance the Loan with an institutional lender” and/or “[r]epay the Loan

with the proceeds of a sale of all or a portion of Harbourside Place.”

       28.     In the event the Developer was unable to refinance the EB-5 Loan through an

institutional investor or sell some or all of Harbourside Place to repay it, prospective EB-5

Investors were told that “the Developer intends to convert the entire outstanding principal amount

of the Loan into an ownership interest in the Developer.” As the EB-5 Loan Agreement explained,

this would entail converting the outstanding principal “into units of common membership interest

in the [Developer],” but that conversion could not be effectuated if an Event of Default had

occurred and was continuing on the Maturity Date.3

       29.     Although there was no minimum principal amount for the EB-5 Loan, the General

Partner had the right to terminate the offering at any time before 50 membership units were sold.

After 80 membership units were sold, the General Partner had the right to refrain from selling any

additional membership units in the Limited Partnership if it was reasonably determined that (a)

the sale of additional membership units would not result in a sufficient number of jobs or (b) there

was insufficient interest in purchasing additional membership units.

       30.     Neither eventuality occurred. Demand for membership units remained high. And

although the General Partner had the right to stop selling additional membership units after 160




       3
         Although the EB-5 Program requires that each applicant’s investments remain “at risk”
during their conditional residency status (i.e., until their I-829 Petition is granted), “[n]othing
prevents an immigrant investor from receiving a return on his or her capital in the form of profits
from the new commercial enterprise.” USCIS Policy Manual, Chapter 2. And although the
regulations require investors to continuously maintain their capital investment over the two years
of their conditional residence, the regulations do not prevent investors from selling their
investments after the end of the two-year period of conditional residence, or create requirements
that extend beyond that period. See 8 C.F.R. § 216.6(c)(1)(iii).



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units were sold, sales continued through 2013 and, as the Offering Documents acknowledged,

there was a need to sell every single membership unit:

       The Developer currently does not have sufficient funding to purchase, develop,
       construct and operate Harbourside Place, even if the Partnership were to extend the
       maximum principal Loan amount of $100.0 million. For this and other reasons, the
       Developer may need to finance Harbourside Place through additional funding, a
       portion of which may rank senior in terms of payment and priority to the
       Partnership’s Loan to the Developer.

       31.     But the Offering Documents also state that $110 million is the maximum amount

of funds that could be raised for the Harbourside Project—including the funds raised by the sale

of membership units to EB-5 Investors—and borrowing additional funds from other sources is

permitted only if fewer than 200 membership units were sold:

       If for any reason the maximum principal amount of the [EB-5] Loan is less than
       $100.0 million, the Principals reserve the right to seek funding from alternative
       sources, provided that the total principal amount of any additional indebtedness,
       together with the total principal amount of the Loan, may not exceed $110.0
       million.

       32.     Despite the ongoing high demand for membership units, however, the General

Partner stopped selling them after only 199 of the 200 membership units had been sold because

Defendants never intended to sell all 200 units. This single-unit shortfall thus triggered the right

under the EB-5 Loan Agreement to seek an additional $10,500,000 in the form of loans from

alternative sources because the sale of 199 membership units generated only $99,500,000 of the

$100 million principal amount for the EB-5 Loan.

                   THE DEVELOPER BORROWS FROM ALTERNATIVE SOURCES
             IN VIOLATION OF THE EXPRESS TERMS OF THE EB-5 LOAN AGREEMENT

       33.     In July 2012—the year before the sale of membership units ceased—Mastroianni

and Yellen had already procured two senior loans from a third party, Putnam Bridge Funding III

(“Putnam”), on behalf of the Developer, which totaled $12,700,000 ($2,700,000 more than the




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$110 million maximum allowed by the terms of the EB-5 Loan Agreement if 200 membership

units had not been sold), without advising the Limited Partners or prospective EB-5 investors who

had yet to become Limited Partners in the Funding Partnership. Moreover, during the next several

months, the Developer borrowed an additional $7,498,000 from the same lender (i.e., Putnam),

bringing the total amount of loans from an alternative source to approximately $20 million before

the end of 2012.

       34.     Specifically, Mastroianni and Yellen procured for the Developer an $11,350,000

bridge loan that was secured by a first priority mortgage on the property on which the Harbourside

Project was built (the “Mortgage Loan”), and a $9,000,000 revolving-credit loan, from which

Mastroianni and Yellen had already drawn $1,350,000 on behalf of the Harbourside Project by

July 2012, which was secured by a second-priority mortgage (the “Revolving Loan”). Several

months later, Mastroianni and Yellen borrowed an additional $7,498,000 under the Revolving

Loan, for a total of more than $20 million. Thus, the Developer substantially exceeded the

$10,500,000 limit on additional funds—even though EB-5 Investors were still buying

membership units well into 2013—in utter disregard of the EB-5 Loan Agreement.

       35.     Shortly thereafter, Mastroianni and Yellen caused the Developer to breach the EB-

5 Loan Agreement again. On December 27, 2012, Mastroianni and Yellen caused the Developer

to expend $11,350,000 of the EB-5 Loan funds to pay off the Mortgage Loan. Four days later (on

December 31, 2012), Mastroianni and Yellen caused the Developer to expend $3,500,000 of the

EB-5 Loan Funds to repay part of the Revolving Loan. Mastroianni and Yellen’s use of loan funds

for this purpose was expressly prohibited by the EB-5 Loan Agreement, which states

unambiguously that

       [t]he purpose of the Loan is to provide funds for certain Lender-approved hard
       and soft construction costs (together with an interest reserve) for the purchase of



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       the Property and the construction of the improvements within the Project. The
       Loan shall be fully reserved for the cost to complete the improvements funded with
       proceeds of the Loan. . . .

(Emphasis added.)

       36.     It was not until April 15, 2013—after Plaintiffs and most other EB-5 Investors had

already purchased their membership units and became Limited Partners in the Funding

Partnership—that Mastroianni even hinted at the existence of the Mortgage Loan or the Revolving

Loan. On that date, Mastroianni, acting in his capacity as Managing Member of the General Partner

and the Florida Regional Center, circulated a letter to the Limited Partners (the “April 2013 letter”)

that states, among other things, that in December 2012 “a mortgage was recorded against the

Property in favor of the [Funding] Partnership to secure repayment of the [EB-5] Loan” and that

$26 million in EB-5 Loan funds were released from escrow and used “to fund construction of

Harbourside Place.” (Plaintiff Fu received the April 2013 letter in May 2013 and Plaintiff Peng

never received it.)

       37.     Mastroianni also stated that, “in December 2012, the Developer obtained an

Additional Loan of up to $18 million from Putnam Bridge Funding III, LLC as Senior Lender to

provide the Developer with additional construction funds.” (Emphasis added.)

       38.     This was also false and misleading. In actuality, Mastroianni and Yellen had caused

the Developer to borrow from Putnam a total of $12,700,000 in July 2012, and by December 2012

they had spent $14,850,000 of the EB-5 Loan funds to repay the $11,350,000 Mortgage Loan and

$3,500,000 of the $8,848,000 Revolving Loan. Yet, the April 2013 letter says nothing about this

unauthorized expenditure of EB-5 Loan funds, nor anything about the decision to borrow an

additional $7,498,000 from Putnam on behalf of the Developer in December 2012 via the

Revolving Loan.




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       39.     Aside from oblique references, the April 2013 Report provides no substantive (or

truthful) information about the Mortgage Loan or the Revolving Loan, such as when, how, or why

the money was borrowed in July 2012, why they decided to subordinate the EB-5 Loan to two

other loans for millions of dollars each, or why they chose to use EB-5 Loan funds to repay the

Mortgage Loan before borrowing more from the credit line made available by the Revolving Loan.

       40.     The April 2013 letter did, however, advise the Limited Partners that, the

       [Funding] Partnership has entered into a revised [EB-5] Loan Agreement with the
       Developer, amending and restating earlier versions of the Loan Agreement dated
       as of July 22, 2011 and as of September 1, 2011, to effect changes to the [EB-5]
       Loan required by the intercreditor agreement and the different versions of the
       Offering Memorandum. As stated in the Offering Memorandum, Developer has the
       option to convert all outstanding principal into units of ownership interest in the
       Developer (the “Developer Units”). The actual number of Developer Units that
       would be acquired upon conversion will depend on the Appraised Value of
       Harbourside Place and the principal amount of the Loan outstanding at the time.

(Bold italics added.)

       41.     Mastroianni also explained that, “[p]ursuant to Section 19.6.2 of the [Limited]

Partnership Agreement, the General Partner has amended and restated the [Limited] Partnership

Agreement . . . .” Although Section 19.6.1 of the Limited Partnership agreement states that the

General Partner may amend the Limited Partnership Agreement in writing “with the consent of

the Limited Partners given by Ordinary Resolution,” Section 19.6.2 provides an exception to the

consent requirement if an amendment is necessary “for the protection of the Limited Partners” or

“to cure an ambiguity” or inconsistency that exists in a written opinion of counsel to the Limited

Partnership.

       42.     Mastroianni also stated that the following provisions had been added to the Limited

Partnership Agreement:

       1.      If the Partnership decides to distribute the Developer Units [i.e., units of
               common membership in the Developer’s LLC], or the proceeds of any sale



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               of the Developer Units, to the Limited Partners, all Limited Partners will
               participate in the distribution pro rata in accordance with their Unit holdings
               until Developer Units, or the proceeds of any sale of Developer Units, equal
               to 65% of all issued and outstanding Developer Units on the date of
               conversion have been distributed; and

       2.      All remaining Developer Units (the “Excess Developer Units”), or the
               proceeds of any sale of Excess Developer Units, will be distributed to the
               Initial Limited Partners, pro rata in accordance with their holdings.

       43.     Less than a year later, in March 2014, Mastroianni issued a report to the Limited

Partners (the “March 2014 Report”) together with an Ordinary Resolution that sought the Limited

Partners’ approval for the Developer to borrow more than $60 million in the form of another senior

mortgage loan (the “Senior Loan”) to which the EB-5 Loan would be subordinated. Mastroianni

also advised the Limited Partners “that if we do not receive a signed copy of the Ordinary

resolution from a Limited Partner on or before April 15, 2014, the Partnership will consider

that you have consented to the Ordinary Resolution.” (Emphasis added.)

       44.     Thus, the Limited Partners were told that not returning a signed Ordinary

Resolution would have the same effect as signing it. Although Defendants claim that a majority of

the Limited Partners “signed” the Ordinary Resolution, this is not true. In actuality, there were two

different versions of the Ordinary Resolution, hence the Limited Partners who actually did consent

sign an Ordinary Resolution (and, in some cases, agents signed without the Limited Partners’

knowledge or consent) were consenting to two materially different proposals. Accordingly, there

actually was no majority vote in favor of the Ordinary Resolution.

       45.     Even if the Limited Partners had validly authorized the Senior Loan, the Ordinary

Resolution would not and could not have negated the effect of taking Mortgage Loan or the

Revolving Loan before all 200 membership units had been sold, and would not and could not have




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constituted ratification by the Limited Partners of Defendants’ decision to take the Mortgage Loan

or the Revolving Loan.

        46.    In short, neither the Ordinary Resolution nor the March 2014 Report that

accompanied it disclosed the existence, nature, magnitude, or duration of the Mortgage Loan or

the Revolving Loan; rather, the Project Update Report makes a vague allusion to an “existing

bridge loan” (in the singular) and to a “Putnam Bridge Loan” (in the singular) and contains no

discussion of Mortgage Loan or the Revolving Loan, how much was borrowed, when or why the

loans were taken, or that EB-5 Loan funds were used to repay those loans. Thus, the failure to

disclose would render any purported ratification ineffective and the ratification language

Defendants included in the Ordinary Resolution is applicable to the Mortgage Loan and the

Revolving Loan in any event.

                         DEFENDANTS PROCEED WITH CONVERTING
                     THE LOAN PRINCIPAL TO EQUITY IN THE DEVELOPER

        47.    The next time Defendants sought approval of an Ordinary Resolution, the Limited

Partners flatly refused to provide it. Despite the rosy picture that Mastroianni and Yellen painted

in the March 2014 Report, the Developer still had yet to make a single monthly interest payment

to the Limited Partners, as required by the EB-5 Loan Agreement. Instead, in a letter dated

December 14, 2016, Mastroianni advised the Limited Partners that the Senior Loan would be

replaced by another Senior Loan and asked them to consent to another Ordinary Resolution that

would extend the Maturity Date of the EB-5 Loan from November 30, 2017, to December 31,

2020.

        48.    This time, the Limited Partners simply declined Mastroianni’s proposal.

        49.    Thus, on August 25, 2017, Mastroianni tried again in a letter he wrote to the Limited

Partners in his capacity as General Partner. There, Mastroianni promised to pay all the interest that



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had accrued to date, to repay the loan principal, and to effectuate a plan that would protect the

Limited Partners’ interests in exchange for their consent to convert the Funding Partnership’s

investment into a “preferred” equity stake in the Developer.

       50.     Like the proposal that was made in the March 2014 Report, Mastroianni included

with this proposal a pronouncement that “[i]f we do not receive the required number of consents,

the Loan will be converted to common equity under the same formula (in accordance with the

existing [EB-5] Loan Agreement) . . . .” (Emphasis in original.)

       51.     When the Limited Partners would not consent to this proposal, Mastroianni wrote

to the Limited Partnership again on October 13, 2017. There, Mastroianni advised the Limited

Partnership that the Developer had “elected to exercise the Conversion Right pursuant to the terms

of the Loan Agreement.” Although Mastroianni was also the managing member of the General

Partner, he failed to circulate to that notice to the Limited Partners, as required by Section 17.3 of

the Limited Partnership Agreement, which provides that “the General Partner shall send to each

Limited Partner a copy of any Conversion Notice within fifteen days following its receipt thereof.”

(Emphasis added.)

       52.     Mastroianni went on in the October 13 letter to note that “[t]he Conversion Right

contemplates conversion of the outstanding principal of the loan into common equity membership

interests of Borrower, but Borrower hereby acknowledges that Borrower and Lender may conduct

good faith negotiations to enhance the terms of the conversion (e.g., preferred equity membership

interests), though Borrower is under no obligation to do so.”

       53.     Mastroianni was not offering to simply forego the “right” to convert the EB-5 Loan

principal into common equity interests and give the Limited Partners a “preferred” equity interest

out of the goodness of his heart. In actuality, “preferred” equity status was just another way of




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extending the Maturity Date. It also meant that the Limited Partners would an illiquid investment

with no voting rights—notwithstanding that the EB-5 Loan Agreement provided that the

conversion would result multiple common membership interests to which they were entitled under

the Limited Partnership, which were guaranteed voting rights as provided by F.S.A. §

605.04073(1)(a).

       54.     Similarly, Mastroianni expressed a “willingness” to negotiate because he knew that,

although the EB-5 Loan Agreement includes a provision that contemplated conversion from a loan

into units of a common membership interest in the Developer, the conversion could not be

effectuated without the approval of the Limited Partners for two basic reasons.

       55.     First, multiple Events of Default existed at the time the Developer sought to

exercise its “right” of conversion, and the EB-5 Loan Agreement as well as the Offering

Documents make clear that the EB-5 Loan could not be converted if an Event of Default existed

at the time of a proposed conversion.

       56.     The EB-5 Loan Agreement defines “Events of Default” as follows:

       EVENTS OF DEFAULT. The occurrence of any one or more of the following
       events is a Default hereunder and the continuance of any such Default beyond the
       period (if any) provided below within which such Defaults may be cured shall be
       an Event of Default hereunder and under the Loan:

               (1)    Any breach of the terms of the Loan Documents; or

               (2)    Any material noncompliance with the Requirements; or

              (3)      Any material representation, warranty, statement, certificate,
        schedule or report made or furnished by Borrower proves to have been false or
        erroneous in any material respect at the time of the making thereof, or to have
        omitted any substantial liability or claim against Borrower, of if on the date of
        execution of this Agreement there shall have been any materially adverse change
        in any of the facts disclosed therein, which change shall not have been disclosed
        to Lender at or prior to the time of such execution . . . .




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       57.     At the time the Developer invoked the conversion provision of the EB-5 Loan

Agreement, Events of Default existed as a result of the Developer taking the Mortgage Loan and

the Revolving Loan, which subordinated the EB-5 Loan to the Mortgage Loan, and as a result of

the Developer using EB-5 Loan funds to pay off the Mortgage Loan in contravention of the express

purpose of the EB-5 Loan Agreement. All of this was inconsistent with the representations made

about these issues in the Offering Documents, as was the Developer’s failure to make any effort

to repay the EB-5 Loan by taking a loan and/or selling some or all of Harbourside Place.

       58.     Second, the conversion could not occur without the approval of the Limited

Partners, even if the Events of Default had not precluded it. Although the Offering Memorandum,

the EB-5 Loan Agreement, and the Limited Partnership Agreement all refer to the prospect of

converting the EB-5 Loan into units of a common membership interest in the Developer, the actual

conversion plan was significantly different than the one described in those documents.

       59.     Despite the existence of Events of Default and despite the lack of consent from the

Limited Partners, Defendants simply proceeded to convert the EB-5 Loan principal to a

“preferred” equity interest in the Developer for the Funding Partnership as an entity, rather than

issuing units of common membership interests for distribution to the Limited Partners, as provided

in the Loan Agreement and the revised Limited Partnership Agreement—both of which had been

amended for that purpose, purportedly for the “protection” of the Limited Partners. Defendants

then converted the Developer from a Florida LLC to the New LLC.

       60.     Moreover, rather than paying off the Senior Loan and freeing the Developer of that

debt, Mastroianni purchased the senior loans by creating the New Senior Lender with funds from

a different EB-5 Project, thereby ensuring that the Developer would continue to be saddled with




                                              - 18 -
debt after the Funding Partnership was made a member of the Developer, while Mastroianni

profited from that debt.

       61.     None of this was mentioned in the Offering Documents, nor were the Limited

Partners given notice of these events, as required by the Limited Partnership Agreement, and the

deceptive nature of the transaction precluded Mastroianni (in his capacity as General Partner) from

claiming that his knowledge of these events were sufficient notice to the Limited Partners under

Section 620.8102(6) of the Florida Revised Uniform Partnership Act of 2005.

       62.     The failure to obtain the Limited Partners’ approval as to the plan for converting

the Developer to the New LLC also violated Section 16.8 of the Limited Partnership Agreement,

which requires unanimous consent of the Limited Partners as a prerequisite to placing their

investment in a LLC that was governed by Delaware law and an entirely different operating

agreement (i.e., an “Other Investment,” as that term is defined by Section 1.1.33 of the Limited

Partnership Agreement. Once again, the Limited Partners were not given proper notice of

Defendants’ plan to convert the Developer to a Delaware LLC or to convert the EB-5 Loan

Agreement principal to a single unit of “preferred” interest in the Developer’s LLC, and the

Limited Partners’ approval was neither sought nor obtained.

                              VEIL-PIERCING ALLEGATIONS

       63.     Mastroianni is now the sole Principal of the Harbourside Group after Richard

Yellen allegedly withdrew as a Principal and as a manager of the Harbourside Group entities on

September 30, 2014. Mastroianni and, until his withdrawal, Yellen, used this status to dominate

and control the entities within the Harbourside Group to such an extent that these entities’

independent existence was in fact non-existent and Mastroianni and Yellen were in fact their alter

egos. Mastroianni commingled these entities’ assets and used their limited liability status as mere




                                              - 19 -
instrumentalities for personal benefit and other improper and misleading purposes, such as

frustrating creditors (i.e., the Limited Partners), to the detriment of and injury to the Funding

Partnership and the Limited Partners.

       64.     As David Finkelstein, the former Chief Financial Officer for the Developer and the

Regional Center, has explained, “Mastroianni, along with those in his employ, routinely conducted

side deals, and funneled money in and out of various accounts without conferring with the CFO

and . . . in non-compliance with the EB-5 requirements, something that would cause serious

problems should there ever be a USCIS or SEC audit.” Finkelstein v. Allied Capital and Devel. of

So. Fla., LLC, No. 2014CA006733 (Palm Beach Cty. Cir. Ct.) ¶ 32.

                          DERIVATIVE ACTION ALLEGATIONS

       65.     Plaintiffs bring this action derivatively on behalf of the Funding Partnership,

pursuant to Fed. R. Civ. P. 23.1 and F.S.A. § 620.2002(2), to enforce the claims for relief set forth

below against each Defendant.

       66.     The conduct about which Plaintiffs complain herein occurred while Plaintiffs were

limited partners in the Funding Partnership, hence they standing to pursue this derivative action

for damages and other relief on behalf of the Funding Partnership, which is necessary and proper

to protect the interests of the Funding Partnership.

       67.     If Plaintiffs are successful in this action, the recovery will be of substantial benefit

to the Funding Partnership and its Limited Partners, each of whom was a member of the Funding

Partnership when it was converted to the New LLC.

                                      DEMAND FUTILITY

       68.     Plaintiffs did not make a demand that Defendant Mastroianni take action in his

capacity as the Principal of the Harbourside Group and/or as managing member of the General




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Partner to remedy the harm alleged herein before they filed this Complaint because such a demand

would have been futile. This was so for several reasons, including, but not limited to, the following

circumstances:

                 a.     First, Mastroianni faces a substantial likelihood of liability in connection

with his role in failing to disclose material facts to the Funding Partnership, grossly mismanaging

the Funding Partnership, breaching his fiduciary duties to the Funding Partnership, and violating

state and federal law to effectuate the conversion provision of the EB-5 Loan despite the existence

of Events of Defaults that precluded it, and other acts of self-dealing that harmed the Funding

Partnership and the conversion of its assets.

                 b.     Second, Mastroianni’s conduct, as alleged herein, deprived him of the

requisite independence and valid business judgment needed to properly assess a demand that the

General Partner take action to remedy alleged harm to the Funding Partnership.

                 c.     Third, the blatantly unfair and one-sided nature of the decision to convert

the EB-5 Loan principal to a membership interest in the Developer made it impossible to approve

that decision through the exercise of valid business judgment, as did the lack of good faith with

which Mastroianni was required to exercise valid business judgment in any event, as evidenced by

the failure to disclose material information to the EB-5 Investors and their failure to comply with

the most basic provisions of the EB-5 Loan Agreement, the Limited Partnership Agreement and

the Florida Revised Uniform Partnership Act of 2005 in carrying out the conversion of the

Developer from a Florida LLC to the New LLC.

                 d.     Fourth, Mastroianni’s direct involvement in the unlawful conduct alleged

herein negates the presumption that they could have considered a pre-suit demand in an objective,

disinterested manner.




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               e.      Fifth, Mastroianni created and controlled each of the other entities that

comprise the Harbourside Group, which also participated in the unlawful, unfair, and fraudulent

conduct alleged herein, and are subject to personal liability for their actions in connection with that

conduct. These facts also negate the presumption that Mastroianni could have considered a pre-

suit demand in an objective, disinterested manner

               f.      Sixth, Mastroianni and entities that are part of the Harbourside Group have

already been named as defendants in a related action that was filed by 79 individual EB-5 Investors

in Palm Beach County Circuit Court in or about October 11, 2018. See Fu v. Mastroianni, No.

502018CA012883 (Palm Beach Cir. Ct, 15th Jud. Cir.). Under the circumstances, Mastroianni

would have been unable to evaluate a pre-suit demand with the requisite disinterest and

independence, much less exercise disinterested business judgment.

                                     CLASS ALLEGATIONS

       69.     Plaintiffs bring this lawsuit as a Class action on behalf of themselves and all other

persons similarly situated pursuant to Federal Rules of Civil Procedure 23(a) and (b)(3).

       70.     The Class is defined as follows: All persons who invested in the Funding

Partnership (i.e., all Limited Partners). Excluded from this Class are Defendants, their affiliates,

subsidiaries, agents, board members, directors, officers, and/or employees; the Court and its staff;

and any Limited Partner who has entered into an enforceable agreement to settle, waive, or

otherwise resolve their claims against Defendants.

       71.     Plaintiffs reserve the right to modify or amend the definitions of the proposed Class

before the Court determines whether class certification is appropriate.

       72.     The Class satisfies the requirements of Rule 23(a), as well as 23(b)(3).




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         73.   NUMEROSITY. The Class consists of approximately 199 geographically dispersed

individual Limited Partners. Joinder of the Class members is not practicable. The disposition of

the claims of the Class members in a single action will provide substantial benefits to all parties

and to the Court.

         74.   ASCERTAINABILITY. The individual Class members are ascertainable, as the names

and addresses of all Class members can be identified in the business records maintained by the

Developer and the General Partner. Notice of this action can thus be provided to all members of

the proposed Class.

         75.   TYPICALITY. Plaintiffs were investors in the Harbourside Project at the time of the

wrongdoing alleged herein. Plaintiffs’ claims are typical of the claims of all proposed Class

members as all Limited Partners are similarly affected by Defendants’ wrongful conduct as

complained of herein.

         76.   ADEQUACY. Plaintiffs are committed to prosecuting the action, will fairly and

adequately protect the interests of the members of the proposed Class, and have retained competent

counsel who are experienced in class-action and derivative litigation, including that pertaining to

breaches of fiduciary duty, breaches of contract, conversion, and other claims like those alleged

herein. Plaintiffs have no interests antagonistic to or in conflict with other members of the proposed

Class.

         77.   COMMONALITY AND PREDOMINANCE. Common questions of law and fact exist as

to all members of the proposed Class and predominate over any questions solely affecting

individual members of the proposed Class. The questions of law and fact common to the Class

include, but are not limited to, the following:

         a.    Whether Defendants breached their fiduciary duties to the proposed Class;




                                                  - 23 -
       b.      Whether Defendants converted the property of the proposed Class; and

       c.      Whether Defendants engaged in civil theft in violation of F.S.A. § 812.014.

       78.     The Class may be certified under Rule 23(b)(3) and Rule 24(c)(4). Questions of

law or fact common to proposed Class members predominate over any questions affecting only

individual members. Class treatment of such common questions of law and fact is a superior

method to piecemeal litigation because class treatment will conserve the resources of the courts

and will promote efficiency of adjudication. Class treatment will also avoid the substantial risk of

inconsistent factual and legal determinations on the many issues in this lawsuit. There will be no

unusual difficulty in the management of this action as a Class action.

                                     CLAIMS FOR RELIEF

                                   COUNT I
        DECLARATORY RELIEF ON BEHALF OF PLAINTIFFS AND THE PROPOSED CLASS

       79.     This Count is brought on behalf of Plaintiffs and the other Limited Partners (i.e.,

the Proposed Class) against Defendants Mastroianni, the General Partner, and the Developer

pursuant to Federal Rule of Civil Procedure 57 for the purpose of obtaining a judicial declaration

of the parties’ respective rights and duties in connection with the allegations set forth in paragraph

47 to 62, above.

       80.     Plaintiffs have alleged that Defendants’ decision to convert the Developer from a

Florida LLC to a Delaware LLC constituted an “Other Investment” (as that term is defined by the

Limited Partnership Agreement), which required a unanimous vote by the Limited Partners in

accordance with the Limited Partnership Agreement and a majority vote in accordance with

Section 620.8401(10) of the Florida Revised Uniform Partnership Act of 2005. Moreover, the plan

to convert the Developer from a Florida LLC to a Delaware LLC constituted an “Other

Investment,” as that term is defined by the Limited Partnership Agreement, which required



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unanimous approval by the Limited Partners. Plaintiffs have also alleged that Mastroianni and the

General Partner failed to seek or obtain the requisite approval from the Limited Partners, but

proceeded with the plan to convert the Developer to a Delaware LLC nonetheless, thereby

rendering the conversion invalid.

       81.     Plaintiffs also allege that the conversion provision of the EB-5 Loan Agreement

calls for converting the loan principal into units of common membership interest in the Developer

as a Florida LLC, but that Mastroianni and the Developer converted the loan principal into a single

“preferred” unit of membership in the Developer after it had become a Delaware LLC, and that

the unit of membership was issued to the Funding Partnership, which prevented the Limited

Partners from exercising rights of membership in the Developer they would have had if the

Developer had remained a Florida LLC and they had received units of common membership

interest, as contemplated by the Offering Documents.

       82.     Defendants dispute these allegations. Therefore, an actual controversy has arisen

and now exists between Plaintiffs and Defendants. Accordingly, Plaintiffs hereby request a judicial

declaration of the rights and duties of the parties with respect to each of the foregoing issues in

controversy.

                                      COUNT II
             BREACH OF FIDUCIARY DUTIES OWED TO THE FUNDING PARTNERSHIP

       83.     This Count is brought on behalf of Plaintiffs and the other Limited Partners against

Defendants Mastroianni and the General Partner.

       84.     Defendants are fiduciaries of the Funding Partnership and they owed a duty to

conduct its business loyally, faithfully, carefully, diligently, and prudently.

       85.     In blatant disregard for his fiduciary duties and for the conflicts of interests resulting

from roles as a Principal of the Harbourside Group, as manager of the General Partner, and as



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manager of the Developer, Mastroianni breached his fiduciary duties to the Funding Partnership

by, inter alia, engaging in the following conduct:

               a.       causing the Developer to take senior loans while the Funding Partnership

was still selling membership units, and thereby subordinating the Funding Partnership’s priority

rights to other lenders;

               b.       causing the Funding Partnership to stop selling membership units after it

had sold 199 units for the purpose of enabling the Developer to take millions of dollars in

additional loans from other lenders;

               c.       failing to make any effort to obtain a loan and/or sell some or all of

Harbourside Place as a means of repaying the loan principal to the Funding Partnership on or after

the Maturity Date (November 30, 2017);

               d.       failing to repay the $99,500,000 loan principal to the Funding Partnership

on the Maturity Date;

               e.       causing the Developer to improperly invoke the conversion provisions of

the EB-5 Loan Agreement notwithstanding the existence of multiple Events of Default;

               f.       causing the Developer to ignore its obligations under the EB-5 Loan

Agreement, which called for the conversion of the EB-5 Loan principal to multiple units of

common membership in the Developer that would be distributed to the Limited Partners;

               g.       causing the Developer to be converted from a Florida LLC (in which

members are guaranteed voting rights) into the New LLC; and

               h.       creating the New Senior Lender with funds from a different EB-5 Project,

thereby ensuring that the Developer would continue to be saddled with debt after the Funding

Partnership was made a member of the Developer, while Mastroianni profited from that debt.




                                               - 26 -
       86.     Mastroianni and the General Partner breached their fiduciary duties to the Funding

Partnership by, inter alia, acting on a conversion plan that materially differed from the conversion

plan described in the Offering Documents without obtaining the Limited Partners’ consent or

approval of that plan, and by failing to take any action to protect the interests of the Funding

Partnership in response to the conduct described above.

       87.     Such conduct and inaction contravened Defendants’ duty to promote the interests

of the Funding Partnership, and could not have been a good-faith exercise of disinterested business

judgment.

       88.     As a direct and proximate result of Defendants’ conduct, the Funding Partnership

has been damaged in amounts that will be proved at trial.

       89.     In conducting themselves as alleged herein, Defendants acted reprehensibly, in

blatant violation of the law and public policy. Moreover, Defendants acted willfully, with the intent

to vex and injure the Funding Partnership with a conscious disregard of their fiduciary duties,

which entitles the Funding Partnership to an award of punitive and exemplary damages.

                                    COUNT III
       BREACH OF FIDUCIARY DUTIES OWED TO PLAINTIFFS AND THE PROPOSED CLASS

       90.     This Count is brought on behalf of Plaintiffs and the Proposed Class against

Defendants Mastroianni and the General Partner.

       91.     Defendants are fiduciaries of Plaintiffs and the other Limited Partners, and they

owed a duty to conduct the business of the General Partner and the Funding Partnership loyally,

faithfully, carefully, diligently, and prudently.

       92.     In blatant disregard for his fiduciary duties and for the conflicts of interests resulting

from roles as a Principal of the Harbourside Group, as manager of the General Partner, and as




                                                    - 27 -
manager of the Developer, Mastroianni breached his fiduciary duties to Plaintiffs and the other

Limited Partners by, inter alia, engaging in the following conduct:

               a.       failing to make any effort to obtain a loan and/or sell some or all of

Harbourside Place as a means of repaying the loan principal to the Funding Partnership on or after

the Maturity Date;

               b.       failing to repay the $99,500,000 loan principal to the Funding Partnership

on the Maturity Date;

               c.       causing the Developer to improperly invoke the conversion provisions of

the EB-5 Loan Agreement notwithstanding the existence of multiple Events of Default;

               d.       causing the Developer to ignore its obligations under the EB-5 Loan

Agreement, which called for the conversion of the EB-5 Loan principal to multiple units of

common membership in the Developer that would be distributed to the Limited Partners;

               e.       using funds from other EB-5 Projects to purchase over $60,000,000 in

Senior Loans to the Developer, thereby ensuring that the Developer continued to be saddled with

debt represented by the New Senior Loan so Defendants could profit from it; and

               f.       causing the Developer to be converted from a Florida LLC (in which

members are guaranteed voting rights) into the New LLC.

       93.     Mastroianni and the General Partner breached their fiduciary duties to the Funding

Partnership by, inter alia, engaging in the following conduct:

               i.       acting on a conversion plan that materially differed from the conversion

plan described in the Offering Documents without obtaining the Limited Partners’ consent or

approval;




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                j.     causing the Developer to ignore its obligations under the EB-5 Loan

Agreement, which called for the conversion of the EB-5 Loan principal to multiple units of

common membership in the Developer that would be distributed to the Limited Partners;

                k.     acting on a conversion plan that materially differed from the conversion

plan described in the Offering Documents without obtaining the Limited Partners’ consent or

approval; and

                l.     failing to take any action to protect the interests of Plaintiffs and the other

Limited Partners in response to the conduct described above.

       94.      Such conduct and inaction contravened Defendants’ duty to promote the interests

of the Limited Partners, and could not have been a good-faith exercise of disinterested business

judgment.

       95.      As a direct and proximate result of Defendants’ conduct, the Limited Partners have

been damaged in amounts that will be proved at trial.

       96.      In conducting themselves as alleged herein, Defendants acted reprehensibly, in

blatant violation of the law and public policy. Moreover, Defendants acted willfully, with the intent

to vex and injure the Funding Partnership with a conscious disregard of their fiduciary duties,

which entitles the Funding Partnership to an award of punitive and exemplary damages.

                                   COUNT IV
   AIDING AND ABETTING BREACHES OF FIDUCIARY DUTY TO THE FUNDING PARTNERSHIP

       97.      This Count is brought derivatively on behalf of the Funding Partnership against

Defendants Regional Center (which administered all aspects of the EB-5 Program) and the

Developer (which received , which Mastroianni dominated and controlled by virtue of his status




                                               - 29 -
as the sole principal of the Harbourside Group, as the sole manager of the Developer, and as the

sole manager of the Regional Center.

       98.     As alleged in Count II, above, Defendants Mastroianni and the General Partner had

fiduciary duties to the Funding Partnership, and Defendants breached those duties by, inter alia,

engaging in the following conduct:

               a.       causing the Developer to take senior loans while the Funding Partnership

was still selling membership units, and thereby subordinating the Funding Partnership’s priority

rights to other lenders;

               b.       causing the Funding Partnership to stop selling membership units after it

had sold 199 units for the purpose of enabling the Developer to take millions of dollars in

additional loans from other lenders;

               c.       failing to make any effort to obtain a loan and/or sell some or all of

Harbourside Place as a means of repaying the loan principal to the Funding Partnership on or after

the Maturity Date (November 30, 2017);

               d.       failing to repay the $99,500,000 loan principal to the Funding Partnership

on the Maturity Date;

               e.       causing the Developer to improperly invoke the conversion provisions of

the EB-5 Loan Agreement notwithstanding the existence of multiple Events of Default;

               f.       causing the Developer to ignore its obligations under the EB-5 Loan

Agreement, which called for the conversion of the EB-5 Loan principal to multiple units of

common membership in the Developer that would be distributed to the Limited Partners;

               g.       causing the Developer to be converted from a Florida LLC (in which

members are guaranteed voting rights) into the New LLC; and




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                 h.     creating the New Senior Lender with funds from a different EB-5 Project,

thereby ensuring that the Developer would continue to be saddled with debt after the Funding

Partnership was made a member of the Developer, while Mastroianni profited from that debt.

          99.    The Regional Center and the Developer, with knowledge of Mastroianni and the

General Partner’s breaches of fiduciary duty, aided and abetted, provided substantial assistance,

and encouraged those breaches of duty.

          100.   As a proximate result of Defendants’ conduct, the Funding Partnership has been

damaged in amounts that will be proved at trial.

          101.   In conducting themselves as alleged herein, Defendants acted reprehensibly, in

blatant violation of the law and public policy. Moreover, Defendants acted willfully, with the intent

to vex and injure the Funding Partnership with a conscious and intentional disregard of its rights,

which entitles the Funding Partnership to an award of punitive and exemplary damages.

                                          COUNT V
                      AIDING AND ABETTING BREACHES OF FIDUCIARY DUTY
                           TO PLAINTIFFS AND THE PROPOSED CLASS

          102.   This Count is brought on behalf of Plaintiffs and the other Limited Partners against

Defendants Regional Center and the Developer.

          103.   As alleged in Count III, above, Defendants Mastroianni and the General Partner

had fiduciary duties to Plaintiffs and the other Limited Partners, and Defendants breached those

duties.

          104.   The Regional Center and the Developer, with knowledge of Mastroianni and the

General Partner’s breaches of fiduciary duty, aided and abetted, provided substantial assistance,

and encouraged those breaches of duty by, inter alia, engaging in the following conduct:




                                                - 31 -
               a.       failing to make any effort to obtain a loan and/or sell some or all of

Harbourside Place as a means of repaying the loan principal to the Funding Partnership on or after

the Maturity Date;

               b.       failing to repay the $99,500,000 loan principal to the Funding Partnership

on the Maturity Date;

               c.       causing the Developer to improperly invoke the conversion provisions of

the EB-5 Loan Agreement notwithstanding the existence of multiple Events of Default;

               d.       causing the Developer to ignore its obligations under the EB-5 Loan

Agreement, which called for the conversion of the EB-5 Loan principal to multiple units of

common membership in the Developer that would be distributed to the Limited Partners;

               e.       using funds from other EB-5 Projects to purchase over $60,000,000 in

Senior Loans to the Developer, thereby ensuring that the Developer continued to be saddled with

debt represented by the New Senior Loan so Defendants could profit from it;

               f.       causing the Developer to be converted from a Florida LLC (in which

members are guaranteed voting rights) into the New LLC;

               g.       acting on a conversion plan that materially differed from the conversion

plan described in the Offering Documents without obtaining the Limited Partners’ consent or

approval;

               h.       causing the Developer to ignore its obligations under the EB-5 Loan

Agreement, which called for the conversion of the EB-5 Loan principal to multiple units of

common membership in the Developer that would be distributed to the Limited Partners;




                                               - 32 -
                i.     acting on a conversion plan that materially differed from the conversion

plan described in the Offering Documents without obtaining the Limited Partners’ consent or

approval; and

                j.     failing to take any action to protect the interests of Plaintiffs and the other

Limited Partners in response to the conduct described above.

       105.     Such conduct and inaction contravened Defendants’ duty to promote the interests

of the Limited Partners, and could not have been a good-faith exercise of disinterested business

judgment.

       106.     As a proximate result of Defendants’ conduct, Plaintiffs and the other Limited

Partners have been damaged in amounts that will be proved at trial.

       107.     In conducting themselves as alleged herein, Defendants acted reprehensibly, in

blatant violation of the law and public policy. Moreover, Defendants acted willfully, with the intent

to vex and injure Plaintiffs and the other Limited Partners with a conscious and intentional

disregard of their rights, which entitles Plaintiffs and the other Limited Partners to an award of

punitive and exemplary damages.

                                           COUNT VI
                                      BREACH OF CONTRACT

       108.     This Count is brought derivatively on behalf of the Funding Partnership against the

Developer.

       109.     The Funding Partnership entered into the EB-5 Loan Agreement with the Developer

on or about September 1, 2011.

       110.     The Funding Partnership did all, or substantially all, of the significant things that

the EB-5 Loan Agreement required it to do.




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       111.    All conditions required for the Funding Partnership’s performance had occurred

when it deposited the proceeds from the sale of units of membership in the Funding Partnership,

the aggregate amount of which was $99,500,000, into the escrow account for the purpose of

funding the EB-5 Loan.

       112.    The EB-5 Loan Agreement prohibited the Developer from borrowing more than a

total of $110,000,000, including the funds the Developer borrowed under the EB-5 Loan.

       113.    The EB-5 Loan Agreement restricted the Developer from using funds from the EB-

5 Loan for any purpose other than the payment of interest to the Funding Partnership and to pay

for the cost of construction of the Harbourside Project.

       114.    Notwithstanding the foregoing provisions of the EB-5 Loan Agreement, the

Developer (a) borrowed nearly $13 million from Putnam in or about July 2012, (b) used EB-5

Loan funds to repay some or all of those loans; and (c) continued to borrow from Putnam while

the General Partner was still selling units of membership in the Funding Partnership.

       115.    The Developer’s conduct, as alleged in paragraphs 33 to 62, above, constituted

multiple Events of Default, as defined by the EB-5 Loan Agreement, which precluded the

Developer from exercising the conversion provisions of the EB-5 Loan Agreement.

       116.    The Developer breached its obligations under the EB-5 Loan Agreement, which

required the Developer to repay the EB-5 Loan on the Maturity Date. Notwithstanding the

existence of this and other Events of Default that had occurred, which the Developer did not cure

and the Funding Partnership did not waive, the Developer failed to repay the EB-5 Loan and

purported to invoke the conversion provisions of the EB-5 Loan Agreement instead.




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          117.   As a proximate result of the Developer’s breaches of contract, the Funding

Partnership has been damaged in an amount equal to the $99,500,000 agreed to return to the

Partnership on the Maturity Date, plus applicable interest.

                                             COUNT VII
                                            CONVERSION

          118.   This Count is brought on behalf of Plaintiffs and the other Limited Partners against

Defendants Mastroianni and the Developer.

          119.   Defendants have engaged in acts of dominion wrongfully asserted over the Limited

Partners’ property—namely, the $500,000 that Plaintiffs and other Limited Partners each deposited

in escrow, which amounted to an aggregate deposit of $99,500,000, for the purpose of funding the

EB-5 Loan (the “Property”)—in a manner inconsistent with Plaintiffs and the other Limited

Partners’ ownership and immediate right of possession of the Property; that is, Defendants lawfully

obtained possession of the Plaintiff’s funds and thereafter converted the funds for their own use.

          120.   Specifically, Defendants explained in the Offering Memorandum that the EB-5

Loan would be repaid “within five years from the date the last potential investor submits his or her

I-526 Petition to USCIS, or, no later than November 30, 2012, as determined by the Partnership in

good faith.” To ensure repayment, the Developer was to “[r]efinance the Loan with an institutional

lender” and/or “[r]epay the Loan with the proceeds of a sale of all or a portion of Harbourside

Place.”

          121.   Plaintiffs and the other Limited Partners had an immediate right of possession of

their $500,000 investments as of the EB-5 Loan’s Maturity Date—November 30, 2017—

regardless of the EB-5 Program’s requirement that each EB-5 investor’ funds be “at risk” during

the pendency of the I-829 Petition. By that date, Plaintiffs and most, if not all, of the other Limited

Partners’ I-829 Petitions had been granted and, because EB-5 investors are free to withdraw from



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the EB-5 Program if they no longer seek permanent residency status, any Limited Partner whose

I-829 Petition had not been granted had the right to withdraw and to the repayment of his or her

$500,000.

       122.    Defendants did not ask any Limited Partner whose I-829 Petitions had yet to be

granted whether he or she wished to receive repayment, regardless of whether doing so would

preclude them from receiving permanent residency status. Nor did Defendants even attempt to

repay the EB-5 Loan. Defendants made no effort to refinance the EB-5 Loan with an institutional

lender, and no effort to sell all or a portion of Harbourside Place, despite their obligation to do so.

Instead, Defendants ignored the prohibition against invoking the conversion provision of the EB-

5 Loan and proceeded to invoke it anyway for the purpose of retaining possession of Plaintiffs and

other Limited Partners’ Property.

       123.    Despite the Limited Partners’ explicit refusal to extend the Maturity Date, despite

their explicit refusal to convert the $99,500,000 into “Preferred” equity interests in the Developer

LLC, and despite the contractual and fiduciary obligations that prohibited it, Mastroianni used his

complete control over the Developer and the General Partner to simply convert the $99,500,000

into a single unit of “Preferred” membership in the Developer and gave that membership unit to

the Funding Partnership, thereby preventing the Investors from receiving their $500,000

investments until Mastroianni decides to return them.

       124.    Defendants’ conduct, as alleged herein, deprived Plaintiffs and the other Limited

Partners of the Property permanently or for an indefinite period of time.

       125.    As a proximate cause of Defendants’ unlawful conduct, Plaintiffs and the other

Limited Partners have each been damaged by the deprivation of their Property, which amounts to

$500,000 each, plus applicable interest.




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                                             COUNT VIII
                                             CIVIL THEFT

       126.      This Count is brought on behalf of Plaintiffs and the other Limited Partners against

Defendants Mastroianni and the Developer.

       127.      Plaintiffs and the other Limited Partners each deposited $500,000 in escrow, which

amounted to an aggregate deposit of $99,500,000, for the purpose of funding the EB-5 Loan (i.e.,

the Property).

       128.      To deprive Plaintiffs and the other Limited Partners of their Property when it was

due to be returned to each of them, Defendants knowingly and in violation of F.S.A. § 812.014

participated in a scheme by which they improperly invoked the conversion provisions of the EB-

5 Loan Agreement to transform the Property into an illiquid investment that was, at best, an indirect

interest that was devoid of any rights, control, or reasonable return. Specifically, despite the

Limited Partners’ explicit refusal to extend the Maturity Date, despite their explicit refusal to

convert the $99,500,000 into “Preferred” equity interests in the Developer LLC, and despite the

contractual and fiduciary obligations that prohibited it, Mastroianni used his complete control over

the Developer and the General Partner to simply convert the $99,500,000 into a single unit of

“Preferred” membership in the Developer and gave that membership unit to the Funding

Partnership, thereby preventing the Investors from receiving their $500,000 investments until

Mastroianni decides to return them.

       129.      As a result of this brazenly deceptive transaction, Mastroianni, with criminal intent,

used his control of the General Partner and the Developer to knowingly and intentionally obtain

the Property belonging to Plaintiffs and members of the proposed class for the purpose of depriving

them of their Property. Mastroianni did not simply fail to return the Investors’ $500,000

investments in a timely manner; rather, after the Limited Partners expressly rejected his attempts



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to defer the Maturity Date for more than three years and to persuade them into converting their

investments into “Preferred” units of membership in the Developer LLC, Mastroianni executed a

byzantine scheme by which he brazenly ignored his fiduciary duties to the Investors by creating a

new LLC and issuing a single unit of “Preferred” membership interest in that LLC to utterly

preclude the Limited Partners from having any say about the management or control of the

company, and thereby effectively locked up nearly $100 million of the Limited Partners’ money

until Mastroianni decides to return it to them—if ever. Moreover, Mastroianni has been accused

of “routinely conducted side deals, and funneled money in and out of various accounts” by the

Developer and Regional Center’s former CFO. (See paragraph 64, above.)

       130.    Mastroianni intended to appropriate and/or has appropriated the Property to his own

use without any legitimate entitlement to those funds.

       131.    Mastroianni’s actions were the product of a scheme of deceit and theft.

       132.    Defendants intentionally violated Florida Statute § 812.014, which prohibits theft.

       133.    As a result of Defendants’ violation of Florida Statute § 812.014, Plaintiffs and the

other Limited Partners have been injured and have lost at least $500,000 each.

       134.    On December 23, 2019, before the filing of the original Complaint, Plaintiffs made

written demand for payment and return the Property in accordance with F.S.A. § 772.11.

       135.    Defendants have yet to agree to return the Property to Plaintiffs or other Limited

Partners or to pay treble damages for their theft of it.

       136.    Plaintiffs and the other Limited Partners have been injured because of Defendants

violations of F.S.A. § 812.014.




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        137.   Pursuant to F.S.A. § 772.11(a), Defendants are liable to Plaintiffs and the other

Limited Partners in the amount of three times the value of the funds Defendants have stolen from

them.

        138.   Plaintiffs and the other Limited Partners are entitled to recover reasonable

attorneys’ fees and costs, as well as accrued interest, as a result of Defendants’ civil theft.

                                             COUNT IX
                                            ACCOUNTING

        139.   This Count is brought derivatively on behalf of the Funding Partnership against

Defendants Mastroianni, the General Partner and the Developer.

        140.    Plaintiffs seek an equitable accounting of the accounts, assets, and liabilities of the

Funding Partnership.

        141.   Mastroianni, as Principal of the Harbourside Group and acting by and for the

General Partner, the Developer, and the Regional Center as those entities’ manager, has engaged

in self-dealing and have mismanaged the business and affairs of the Funding Partnership and the

Developer in the manner alleged herein, thereby placing the Funding Partnership’s assets at undue

risk due to the Funding Partnership having become a member of the Developer.

        142.   Plaintiffs do not have an adequate remedy at law because Defendants have control

over the accounts, records, and assets of the Funding Partnership and the Developer.


                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, on behalf of themselves and all similarly situated individuals,

and derivatively on behalf of the Funding Partnership, demand judgment against Defendants as

follows:




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       (1)     declaring this action to be a proper class action maintainable pursuant to Federal

Rule of Civil Procedure 23(a), 23(b)(2), and 23(b)(3), and to be a proper derivative action

maintainable pursuant to Federal Rule of Civil Procedure 23.1 and declaring Plaintiffs and their

counsel to be representatives of and counsel for the proposed class;

       (2)     declaring that Defendants’ exercise of the conversion provisions of the EB-5 Loan

Agreement, as alleged in Count I;

       (3)     declaring that the conversion of the Developer from a Florida limited liability

company to a Delaware limited liability company, was invalid and void, as alleged in Count II;

       (4)     awarding compensatory and punitive damages for Defendants’ breaches of

fiduciary duty, as alleged in Count III;

       (5)     awarding compensatory and punitive damages for Defendants’ breaches of

fiduciary duty, as alleged in Count IV;

       (6)     awarding compensatory and punitive damages for Defendants’ aiding and abetting

breaches of fiduciary duty, as alleged in Count V;

       (7)     awarding compensatory and punitive damages for Defendants’ aiding and abetting

breaches of fiduciary duty, as alleged in Count VI;

       (8)     awarding compensatory damages for Defendants breaches of contract, as alleged in

Count VII;

       (9)     awarding compensatory and punitive damages for Defendants’ conversion of the

Property, as alleged in Count VIII;

       (10)    awarding treble damages and attorney fees and costs as a result of Defendants’ civil

theft, as alleged in Count IX; and




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       (11)   an accounting of the Funding Partnership and the Developer’s assets, as alleged in

Count X;

       (12)   awarding Plaintiffs and members of the proposed class attorney fees and costs

pursuant to the common fund doctrine and F.S.A. § 772.1(a);

       (13)   awarding the Funding Partnership, Plaintiffs and the members of the proposed class

prejudgment interest at the maximum rate allowable by law; and

       (14)   awarding such other and further relief the Court deems just, proper and equitable.

Dated: JANUARY 28, 2021                     Respectfully submitted,
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                                            Counsel for Plaintiffs




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                                 DEMAND FOR JURY TRIAL

       Plaintiffs, on behalf of themselves and the proposed Class of Limited Partners, and

derivatively on behalf of the Funding Partnership, hereby request a jury trial for any and all Counts

for which a trial by jury is permitted by law.

Dated: JANUARY 28, 2021                          Respectfully submitted,
                                                 by /s/ Matthew Fornaro
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